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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                         :   Date of
                                                 :   Notice: August 8, 2022
               vs.                               :
                                                 :
MITCHELL WHITE                                   :   CRIMINAL NO. 18-101-6
1211 S. 2nd Street
Apartment #3
Philadelphia, PA 19147

                                    NOTICE OF HEARING

              TAKE NOTICE that the above-named defendant has been scheduled for JURY
TRIAL on January 9, 2023 at 10:00 A.M., before the Honorable Gene E. K. Pratter in
Courtroom 10-B of the United States District Court, 601 Market Street, Philadelphia,
Pennsylvania.

☐ Detained Federal Inmate: The U.S. Marshal shall have the defendant present for this court
proceeding.

☒ Bail Status: The defendant is on bail. A Court Security Officer shall be assigned to this
proceeding.

☒ Court Summons: This Notice serves as a summons to appear in court. If the defendant is on
bail or supervision and fails to appear as directed, the presiding judge may issue a bench warrant.

☐ Interpreter: A          interpreter will be required for the defendant.
☐ Hearing rescheduled from:
For additional information, please contact the undersigned.

                                                 Michael Coyle,
                                                 Deputy Clerk to Judge Pratter

                                               Notice to:
                                                 Defendant
                                                 Ann C. Flannery, Esq., Defense Counsel
                                                 Mary Kay Costello, A.U.S.A.
                                                 U.S. Marshal
                                                 Probation Office
                                                 Pretrial Services
                                                 Interpreter Coordinator
